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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                       )
                                                  )
                  Plaintiff,                      )
                                                  )
  VS.                                             )       Case No.        22-80173-CR-AMC
                                                  )
  WILLIAM MICHAEL SPEARMAN,                       )
                                                  )
                  Defendant.                      )
                                                  )

                                GOVERNMENT’S MOTION TO SEAL
                               RESPONSE TO MOTION TO SUPPRESS

          The United States hereby files the instant motion to seal the government’s response and

  attached exhibits in opposition to defendant Spearman’s motion to suppress (DE 74) pursuant to

  local rule 5.4 and states as follows:

          On April 14, 2023, this Court granted (DE 79) the defendant’s motion to seal (DE 72) his

  motion to suppress and request for hearing (DE 74). The government conventionally filed a

  response to the motion to suppress as well as three (3) exhibits be filed under seal.

          Pursuant to Southern District of Florida Local 5.3(b)(2), the parties are required to “redact

  any sensitive, confidential, or private information in accordance with Fed. R. Civ. P. 5.2, Fed. R. Crim.

  P. 49.1, and CM/ECF Administrative Procedures, Section 6, Redaction of Personal Information,

  Privacy Policy, and Inappropriate Materials, or seek an order from the Court either to seal the exhibit

  or to exempt the exhibit from electronic filing under subsection (b)(3)(C) of this rule.” Local Rule

  (b)(3)(C) states:

          “When permitted by order of the Court, exhibits containing voluminous amounts of
          confidential information that is subject to privacy protections in accordance with Fed. R. Civ.
          P. 5.2, Fed. R. Crim. P. 49.1, or other applicable rule or statute; within ten (10) days of the
          conclusion of the hearing or trial, unless otherwise ordered, such exhibits must be delivered to
          the Clerk of the Court either in original physical form or on a CD, DVD, or other electronic
          medium containing a copy of the exhibit, but such exhibits are not to be filed in the CM/ECF

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         system, and the filer is not required to comply with CM/ECF Administrative Procedures,
         Section 6, Redaction of Personal Information, Privacy Policy, and Inappropriate Materials.

  Like the motion to suppress, the government’s response to the motion to suppress and its exhibits

  contain information regarding an ongoing investigation that if made known to the public through the

  information contained within the government’s filing and attachments, would jeopardize the

  investigation and put the lives of law enforcement at risk who conduct the investigations. The

  government requests the Court issue an order allowing the government to file its response and three

  (3) exhibits under seal. The government will provide the same to the defense as well.

         Filing all the documents under seal, will allow all parties, the Court and the Appellate Court,

  if necessary, to have access to un-redacted and original versions of the evidence for ease of

  identification. It does not appear that any party, current or future, would be prejudiced by this method

  of filing in a case with such voluminous material.

                                                                  Respectfully submitted,

                                                                 MARKENZIE LAPOINTE
                                                                 UNITED STATES ATTORNEY

                                                              By: s/ Gregory Schiller
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document was

  emailed to the Court’s email account and CC’d to defense counsel as contained within the record

  on April 24, 2023, and is now being filed electronically through CMECF on April 28, 2023.


                                                         By: s/ Gregory Schiller
                                                         Assistant United States Attorney




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